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                     THE WHITE BOOK .
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                                      LONDON :

                             REED AND PARDON, PRINTERS ,
                                  PATERNOSTER ROW.




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        Corporation of London .,
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       LIBER                         ALBUS :

              THE WHITE BOOK
                                    OF




          The City of London .
                          COMPILED A.D. 1419, BY

                 JOHN CARPENTER, Common Clerk.
                 RICHARD WHITINGTON , Mayor.




       Translated from the Original Latin and Anglo-Norman,


                                   BY


               HENRY THOMAS RILEY, M.A. ,
                         CLARE HALL , CAMBRIDGE ;
                 OF THE INNER TEMPLE, BARRISTER- AT- LAW,




                                 London :

          RICHARD GRIFFIN AND COMPANY,
                     STATIONERS' HALL COURT,

                               MDCCCLXI .

                              ( 1861)
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     XXXVÜ Epw . 11.)              USE OF ARMS FORBIDDEN .                     335


                                      That no one go armed .

        Item , that no one, of whatever condition he be, go armed in the said city
     or in the suburbs, or carry arms, by day or by night, except the vadlets of
     the great lords of the land, carrying the swords of their masters in their
     presence, and the serjeants-at-arms of his lordship the King, of my lady
     the Queen, the Prince, and the other children of his lordship the King,
     and the officers of the City, and such persons as shall come in their com
     pany in aid of them , at their command, for saving and maintaining the
     said peace ; under the penalty aforesaid, and the loss of their arms and
     armour.

                                           Of Hostelers,
       Item, that every hosteler and herbergeour cause warning to be given
     unto his guests that they leave their arms in their hostels where they shall
     be harboured ; and if they shall not do so, and any one shall be found carry
     ing arms contrary to the said proclamation, through default of warning by
     his host, such host is to be punished by imprisonment and by fine, at the
     discretion of the Mayor and Aldermen .

                        Of the power of arresting Felons and Misdoers.
       Item , that every man of standing in the said city, Alderman and com
     moner, who is of good repute, have power, in the absence of the officers,
     to arrest felons and misdoers, and to bring them unto the houses of the
     Sheriffs, that so due punishment may be inflicted upon such misdoers.

                                That no one draw sword or knife.
       Item, the better to keep the said peace, and that each person may fear
     the more to break the said peace, it is ordained that no person draw sword,
     or knife, or other arm ; [and in such case ), provided he do not strike, he is
     to pay unto the City half a mark, or remain in the prison of Newgate
     fifteen days.      And if he draw blood of any one, he is to pay unto the City
     twenty shillings, or remain in prison forty days.
                           1 Edward the Black Prince, son of Edward III .
